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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION

14500 LIMITED, an Ohio Limited
Liability Company                                             Civil Action No. 1:12-cv-01810

         Plaintiff,                                           Judge Christopher A. Boyko

v.

CSX TRANSPORTATION, INC., a
Virginia Corporation,

         Defendant.

               CSX TRANSPORTATION, INC.’S RESPONSE IN OPPOSITION
                   TO PLAINTIFF’S MOTION FOR REMAND [DOC. 5]
                     AND SUPPORTING MEMORANDUM OF LAW1




1
  Pursuant to Local Rule 7.1(f), this Response in Opposition is subject to the twenty (20) page limit for
memorandum relating to dispositive motions in standard or unassigned cases. See Vogel v. U.S. Office Prods. Co.,
258 F.3d 509, 514-17 (6th Cir. 2001) (addressing “whether a remand motion is nondispositive or dispositive,” and
holding that the Sixth Circuit “agree[s] with the Third and Tenth Circuits that remand motions are dispositive”).
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       CSX Transportation, Inc. (“CSXT”), by and through undersigned counsel, hereby

submits its Response in Opposition (“Response”) to Plaintiff 14500 Limited’s Motion for

Remand (“Motion”). Doc. 5. In support of its Response, CSXT states:

I.     STATEMENT OF ISSUES

       Plaintiff’s Motion presents two issues: (i) whether Plaintiff’s state law claim seeking to

adversely possess a portion of CSXT’s active rail yard is completely preempted by Section

10501(b) of the Interstate Commerce Commission Termination Act of 1995, 49 U.S.C. § 10101,

et seq. (“ICCTA”); and (ii) whether this Court has diversity jurisdiction under 28 U.S.C. § 1332.

II.    SUMMARY OF THE ARGUMENT

       In this lawsuit, Plaintiff seeks exclusive control and possession of – and title to – property

that is part of CSXT’s Collinwood Rail Yard. Specifically, Plaintiff asks the Court to quiet title

to a portion of CSXT’s active Rail Yard and transfer sole ownership and possession to Plaintiff

pursuant to Ohio’s adverse possession laws. As the Surface Transportation Board (“STB”) and

courts have repeatedly held, adverse possession suits like Plaintiff’s are expressly preempted by

ICCTA. See Jie Ao and Xin Zhou – Pet. for Decl. Order, STB Fin. Docket No. FD 35539, 2012

STB LEXIS 206 (June 4, 2012) (collecting cases). Contrary to Plaintiff’s assertions, this is true

even where the property is not currently used for rail transportation purposes, and even when

“there are currently no specific plans” for such use. Id. Accordingly, ICCTA wholly displaces

Plaintiff’s adverse possession claim and provides this Court with removal jurisdiction. See Elam

v. Kan. City S. Ry., 635 F.3d 796 (5th Cir. 2011).

       Despite the ample authority cited in CSXT’s Notice of Removal (Doc. 1) (“Notice”),

Plaintiff now seeks to remand the case to state court.         Plaintiff’s main argument against

preemption is that its state law claim does not constitute the “regulation” of CSXT’s rail
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operations because CSXT is not actively using the property for current rail operations. Motion at

8 (“At no time does the Defendant suggest that this land is being used for transportation as

defined” by ICCTA). But the law is clear that ICCTA preempts state law claims that would

completely take away part of a railroad’s yard or property, and thus “prevent the railroad from

using it for railroad transportation in the future.” Union Pac. R.R. v. Chicago Transit Auth., 647

F.3d 675, 681 (7th Cir. 2011) (emphasis added). Plaintiff simply ignores the numerous cases,

cited in CSXT’s Notice, holding that state law condemnation claims are preempted by ICCTA,

and the STB’s repeated pronouncement that condemnation is “the most extreme type of control

over rail transportation as it is defined in [ICCTA].” Norfolk Southern Railway Co. – Pet. for

Dec. Order, STB Fin. Dkt. No. 35196, 2010 STB LEXIS 635, at * 7 (2010); see also Jie Ao,

2012 STB LEXIS 206, at * 14.

        Just last month, the STB – which the Sixth Circuit has recognized as “uniquely qualified

to determine whether state law should be preempted” by ICCTA2 – issued a key decision finding

that ICCTA preempted a similar adverse possession claim. Jie Ao, 2012 STB LEXIS 206. As

the STB correctly recognized, such claims are preempted because “adverse possession has the

same legal effect on the property as condemnation – elimination of the prior ownership interest

in the property.” Id. at * 14, n. 4. The STB squarely rejected Plaintiff’s argument here, finding

that ICCTA preemption applies even if property is not currently used for rail purposes. Id. at *

19 (even if plaintiff “is correct that the application of state adverse possession law here might

have little actual, practical effect on current plans for active railroad operations, circumstances

can change.”). As in Jie Ao, Plaintiff’s “approach to preemption would permit landowners to

carve off strips of railroad [rights of way] all over the country for non-rail use,” and “that

2
 Adrian & Blissfield R.R. Co. v. Blissfield, 550 F.3d 533, 539 (6th Cir. 2008) (citation omitted); see also
Columbiana County Port Auth. v. Boardman Twp. Park Dist., 154 F. Supp. 2d 1165, 1178 (N.D. Ohio 2001) (an
STB decision is “the product of expert judgment which carries a presumption of validity.”).


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untenable result would undermine interstate commerce and the strong federal policy in favor of

retaining rail property in the national rail network, where possible.” Id.

       Under the reasoning in Jie Ao and myriad other STB and court decisions, removal

jurisdiction is proper in this Court. As CSXT has demonstrated, if Plaintiff prevails, CSXT’s

ability to use, expand, and/or reconfigure the vital Collinwood Rail Yard to handle projected

future rail traffic will be limited. See Doc. 1-3 at 4-5, ¶¶ 8-11. And if rail traffic passing through

the Collinwood Rail Yard is constrained, it could have ripple effects causing delays across

CSXT’s interstate rail network. Id. Plaintiff’s claim is thus completely preempted by ICCTA

and CSXT properly removed the case under 28 U.S.C. § 1331.

       This Court also has jurisdiction under 28 U.S.C. § 1332 because the parties are

completely diverse and the amount in controversy exceeds $75,000. Plaintiff does not dispute

that the parties are completely diverse.       Rather, Plaintiff only asserts that the amount in

controversy is below $75,000. Motion at 9. To defeat diversity jurisdiction, Plaintiff claims that

the property’s market value is only $28,000. But this is not a controversy about the current

market value of a strip of railroad property. It is a controversy about CSXT’s ability to use the

property for future rail operations. In adverse possession cases, courts have rejected market

value as the measure of the amount in controversy, and have looked instead to the future

economic impact on a party caused by the loss of the property. See Vulcan Lands, Inc. v. Chi.

Title & Trust Co., 2008 U.S. Dist. LEXIS 39107, at *11 (N.D. Ill. May 13, 2008) (“relevant

question” for determining amount in controversy in adverse possession case “is the value of the

controversy, not the value of the strip of land”).

       CSXT has provided uncontroverted evidence that the loss of this property within CSXT’s

vital Rail Yard would limit its ability to use, expand, and/or reconfigure the Rail Yard, and that




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this potential loss and the negative impact on CSXT’s rail operations would far exceed $75,000.

Doc. 1-3 at 5, ¶ 11. As such, diversity jurisdiction also exists here.

III.    FACTUAL AND PROCEDURAL BACKGROUND

        CSXT is one of the largest rail transportation companies in the United States. See Doc.

1-3 at 2, ¶ 3. CSXT is also a Class I railroad as defined by the STB and a “rail carrier” as

defined by ICCTA.       See id.; 49 U.S.C. § 10102(5).       CSXT provides common carrier rail

transportation services across an interstate rail network consisting of approximately 21,000

railroad route miles linking communities and commercial markets in 23 states, the District of

Columbia, and two Canadian provinces. See Doc. at 2, ¶ 3. More than 4,000 railroad route miles

of CSXT’s rail network are located in the State of Ohio, including the Collinwood Rail Yard in

Cleveland, Ohio, a portion of which is the subject of this lawsuit. Id. at ¶ 5.

        A.     The Parcel That Plaintiff Seeks To Adversely Possess Is An Essential Part Of
               CSXT’s Active Collinwood Rail Yard

        In this lawsuit, Plaintiff seeks to permanently take part of CSXT’s Collinwood Rail Yard

(the “Parcel”). See Doc. 1-1 at ¶¶ 9-22. It is undisputed that the entirety of the Parcel is included

within CSXT’s Collinwood Rail Yard. See Doc. 1-2 at 3, ¶ 5.

        The Collinwood Rail Yard is centrally located on CSXT’s interstate rail network and is

one of the primary CSXT rail transportation facilities in the Cleveland, Ohio area. Id. at 3-4, ¶ 7.

The Collinwood Rail Yard is an integral part of CSXT’s rail corridor that stretches between

Chicago, Illinois and Buffalo, New York (the “Rail Corridor”) – one of the densest freight rail

corridors in the entire eastern United States. Doc. 1-3, at 3, ¶ 6. The Collinwood Rail Yard is

thus a vital part of CSXT’s railroad operations and facilitates the efficient movement of rail

traffic in interstate commerce. Doc. 1-3, at 3, ¶ 7.




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       For more than a century, CSXT and its predecessors have owned and operated the

Collinwood Rail Yard as an active rail yard for building and switching trains in interstate

commerce. See Doc. 1-3 at 2, ¶ 6. Among other rail transportation activities, CSXT uses the

Collinwood Rail Yard to refuel CSXT trains running on the Rail Corridor, to switch rail traffic

and to provide rail services to local CSXT rail served customers. Doc. 1-3, at 4, ¶ 7. Numerous

CSXT trains also originate and terminate at the Collinwood Rail Yard. Id.

       B.      Plaintiff’s Lawsuit Seeks To Permanently Deprive CSXT Of Its Ability To
               Use The CSXT Parcel For Its Future Rail Transportation Operations

       Rail traffic at the Collinwood Rail Yard has increased in recent years and CSXT projects

further rail traffic increases in the near future. Doc. 1-3, at 4, ¶ 8. Given the central location and

vital role of the Collinwood Rail Yard in CSXT’s interstate rail network, any limitations or

restrictions on CSXT’s rail operations there could negatively impact rail service across CSXT’s

Rail Corridor. Id. at ¶ 9. Thus, it is essential that CSXT maintain adequate capacity and

flexibility to use, expand, or reconfigure the Collinwood Rail Yard to accommodate anticipated

rail traffic increases along the Rail Corridor in the coming years. Id. at ¶ 8.

       The Collinwood Rail Yard – and the Parcel that Plaintiff seeks to take in this lawsuit – is

located in what is now a densely populated urban area of Cleveland, Ohio. Doc. 1-3 at 5, ¶ 11.

If Plaintiff prevails, it will result in a portion of CSXT’s Rail Yard being “carved off” and will

limit CSXT’s ability to meet its future rail needs by, among other things: (i) adding or expanding

tracks; (ii) constructing additional rail support facilities; and (iii) offloading or storing products

shipped by rail. Id. at ¶ 10. As a result, CSXT may be required to incur substantial capital

investment to explore alternative locations (to the extent such locations exist and are suitable).

Id. Simply put, the Parcel that Plaintiff seeks to adversely possess in this suit is critical to




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CSXT’s ability to use, expand, and/or reconfigure the vital Collinwood Rail Yard to handle

projected future rail traffic. Id. at 3-5, ¶ 6-11.

        Given the importance of maintaining capacity and flexibility at the Collinwood Rail

Yard, CSXT refused to sell the Parcel to Plaintiff. Doc. 1-2 at 3, ¶ 7; Doc. 1-3 at 5, ¶ 10.

Indeed, CSXT’s rail transportation and operation personnel considered Plaintiff’s request to

purchase the Parcel, and expressly rejected it upon finding that the Parcel is necessary for

CSXT’s future anticipated rail transportation uses. Doc. 1-2 at 3, ¶ 7.

IV.     LAW AND ARGUMENT

        This Court has both federal question and diversity jurisdiction in this case because: (i)

ICCTA completely preempts Plaintiff’s state law claim to adversely possess the Parcel; and (ii)

Plaintiff and CSXT are citizens of different states and the amount in controversy exceeds

$75,000. Accordingly, this Court should deny Plaintiff’s Motion.

        A.      Plaintiff’s Adverse Possession Claim Is Wholly Displaced By ICCTA

        The jurisdictional doctrine of complete preemption provides a “corollary” to the well-

pleaded complaint rule. See Metro. Life Ins. Co. v. Taylor, 481 U.S. 58, 63-64 (1987); see also

Ritchie v. Williams, 395 F.3d 283, 287 (6th Cir. 2005). Under this corollary, a plaintiff cannot

avoid the true federal nature of its claims simply by recasting them as state law causes of action.

See Beneficial Nat’l Bank v. Anderson, 539 U.S. 1, 6-8 (2003); cf. Brobander v. Unum Life Ins.

Co. of Am., 2007 U.S. Dist. LEXIS 7045, at * 4 (N.D. Ohio Jan. 31, 2007).                Complete

preemption exists where, as here, Congress intends a federal statute such as ICCTA to “wholly

displace” state law claims. Aetna Health Inc. v. Davila, 542 U.S. 200, 207 (2004); see also

Kitzmann v. Local 619-M Graphic Communs. Conf. of the Int'l Bhd. of Teamsters, 415 Fed.

Appx. 714, 717 (6th Cir. 2011).




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        As the Fifth Circuit Court of Appeals has repeatedly recognized, ICCTA “wholly

displaces” state law claims that seek to regulate, i.e., “manage” or “govern,” rail transportation,

and thus provides a basis for removal under the complete preemption doctrine. See, e.g., Elam v.

Kan. City S. Ry. Co., 635 F.3d 796, 803 (5th Cir. 2011) (ICCTA “so forcibly and completely

displaces state law that the plaintiff’s cause of action is either wholly federal or nothing at all.”);

see also PCI Transp. Inc. v. Fort Worth & W. R.R. Co., 418 F.3d 535, 540 (5th Cir. 2005)

(ICCTA completely preempts state law actions that "fall squarely" under ICCTA); cf. Fayard v.

Northeast Vehicles Servs., LLC, 533 F.3d 42, 47-48 (1st Cir. 2008) (“[S]ome state law claims

may be completely preempted under the ICCTA . . . .”).3

        Numerous district courts have also upheld removal based upon ICCTA. See, e.g., Harris

Cnty. v. Union Pac. R.R. Co., 807 F. Supp. 2d 624, 632 (S.D. Tex. 2011); Canadian Nat'l Ry.

Co. v. Montreal, Me. & Atl. Ry., 750 F. Supp. 2d 189, 196 (D. Me. 2010); South Dakota R.R.

Auth. v. Burlington Northern & Santa Fe Ry. Co., 280 F. Supp. 2d 919, 937 (D.S.D. 2003);

Cedarapids, Inc. v. Chicago, Cent. & Pacific R.R., 265 F. Supp. 2d 1005, 1014-15 (N.D. Iowa

2003); cf. Columbiana County Port Auth. v. Boardman Twp. Park Dist., 2001 U.S. Dist. LEXIS

16032, at * 6 (N.D. Ohio June 20, 2001) (finding federal question jurisdiction under ICCTA over

suit involving attempt to condemn railroad property).3



3
  Although the Sixth Circuit recently cited Elam in a decision analyzing complete preemption removal based upon
the Federal Railway Safety Act, the Sixth Circuit has not yet addressed whether ICCTA can provide the basis for
complete preemption. See Hampton v. R.J. Corman R.R. Switching Co. LLC, 683 F.3d 708, n. 8 (6th Cir. 2012).
3
  This Court has considered ICCTA complete preemption in two inapposite situations. In 2006, this Court held that
ICCTA did not completely preempt a claim for breach of an easement contract. Allied Erecting & Dismantling Co.
v. Ohio Cent. R.R., Inc., No. 4:06cv509, 2006 U.S. Dist. LEXIS 76542, at *15 (N.D. Ohio Oct. 11, 2006). However,
this case involved a voluntary contract entered into by a rail carrier. Id. at *12-13. Similarly, in 2010, this Court
found that ICCTA did not completely preempt a trespass claim arising from the railroad’s voluntary sale of two
parcels. Allied Indus. Dev. Corp. v. Ohio Cent. R.R., No. 4:09-cv-01904, 2010 U.S. Dist. LEXIS 23994, at *10-11
(N.D. Ohio Mar. 15, 2010). Again, this case involved a voluntary contract entered into by the railroad. Id. at *10-
11. “Voluntary agreements ‘do not fall into the code of economic regulation that the ICCTA was intended to
preempt.’” Elam, 635 F.3d at 806 (quoting PCS Phosphate Co., Inc. v. Norfolk S. Corp., 559 F.3d 212, 219 (4th Cir.
2009)). In stark contrast, there is no voluntary contract here; Plaintiff seeks to take CSXT’s Parcel.


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       In its Motion, Plaintiff does not dispute that complete preemption under ICCTA can

provide the basis for removal to federal court. See Motion at 2-7 (citing Elam, 635 F.3d 796).

Instead, it contends only that ICCTA does not preempt the state law adverse possession claim it

brings here. Motion at 7-8. Specifically, Plaintiff argues that: (i) state law property claims only

have an “incidental” effect on rail transportation, and thus are not completely preempted by

ICCTA; and (ii) even if ICCTA does preempt certain state law property claims, it does not do so

here because the Parcel is not currently used by CSXT for rail transportation purposes. See

Motion at 7-8. Both arguments fail as a matter of law.

       As the overwhelming weight of controlling federal and STB authority demonstrates,

ICCTA expressly and completely preempts Plaintiff’s attempt to unilaterally and permanently

deprive CSXT of its ability to use the Parcel through its adverse possession claim. And ICCTA

preemption applies even where property is not currently used for rail purposes, and even when

“there are currently no specific plans” to develop the property. Jie, Ao, 2012 STB LEXIS 206, at

* 17. By seeking to permanently deprive CSXT of its ability to use, expand or reconfigure its

essential Collinwood Rail Yard, Plaintiff’s adverse possession claim “directly attempts to

manage or govern” CSXT’s rail transportation decisions.           See Elam, 635 F.3d at 807.

Accordingly, this Court has federal question jurisdiction under 28 U.S.C. § 1331.

       B.      The Broad Scope Of ICCTA’s Express Preemption Provision

       As a threshold matter, Plaintiff’s arguments largely ignore ICCTA’s broad express

preemption provision, which grants the STB exclusive jurisdiction over rail transportation, rail

carriers, and rail facilities like the Collinwood Rail Yard here, and expressly preempts state law

with respect to regulation of rail transportation. See 49 U.S.C. §§ 10501(b); § 10102(9)(a).

Specifically, ICCTA provides the STB with “exclusive” jurisdiction over:




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       (1)     transportation by rail carriers, and the remedies provided in this part with
               respect to rates, classifications, rules (including car service, interchange,
               and other operating rules), practices, routes, services, and facilities of such
               carriers; and

       (2)     the construction, acquisition, operation, abandonment, or discontinuance
               of spur, industrial, team, switching, or side tracks, or facilities, even if the
               tracks are located, or intended to be located, entirely in one State,

b) (emphasis added). Moreover, ICCTA expressly provides that "the remedies provided under

[ICCTA] with respect to regulation of rail transportation are exclusive and preempt the remedies

provided under Federal or State law." Id. (emphasis added).

       ICCTA defines “transportation” to include a “warehouse, wharf, dock, yard, property,

[or] facility . . . of any kind related to the movement of passengers or property, or both, by rail

. . . .” 49 U.S.C. § 10102(9)(a) (emphasis added). This includes Collinwood Rail Yard.

       ICCTA preemption extends to “all state laws that may reasonably be said to have the

effect of 'managing' or 'governing' rail transportation.” Adrian & Blissfield R.R. Co. v. Vill. of

Blissfield, 550 F.3d 533, 539 (6th Cir. 2008) (citation omitted); see also Elam, 635 F.3d at 805.

Indeed, “it is manifestly clear that Congress intended to preempt the Ohio state [laws] . . . to the

extent that they intrude upon the STB's exclusive jurisdiction over ‘transportation by rail

carriers.’” R.R. Ventures, Inc. v. Surface Transp. Bd., 299 F.3d 523, 561 (6th Cir. 2002).

Numerous courts have recognized the breadth of ICCTA preemption, noting that “[i]t is difficult

to imagine a broader statement of Congress’s intent to preempt state regulatory authority over

railroad operations.” Norfolk S. Ry. Co. v. City of Maple Heights, 2003 U.S. Dist. LEXIS 28282,

at * 8 (N.D. Ohio May 14, 2003) (citation omitted); see also Columbiana County Port Auth. v.

Boardman Twp. Park Dist., 154 F. Supp. 2d 1165, 1180 (N.D. Ohio 2001) (ICCTA is one of “the

most pervasive and comprehensive of federal regulatory schemes.”).




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       C.      ICCTA Preempts Plaintiff’s State Law Adverse Possession Claim That Seeks
               To Manage Or Govern CSXT Rail Transportation Activities and Facilities

       Plaintiff’s primary argument to avoid ICCTA preemption is that its state law property

claim only has an “incidental” effect on rail transportation – i.e. the claim does not seek to

“manage” or “govern” rail transportation. See Motion at 7. Plaintiff is simply incorrect.

       Contrary to Plaintiff’s assertions, the undisputed evidence shows that its proposed taking

would constitute the impermissible regulation of CSXT’s rail operations by depriving CSXT of

the future use of its vital railroad property. As Plaintiff concedes, it seeks to take title to the

CSXT Parcel outright. Doc. 1-1. This type of state law claim presents “the most extreme type of

control” over rail transportation and rail property, and is thus preempted by ICCTA.

Columbiana County Port Auth., 154 F. Supp. 2d at 1181 (citation omitted); see also Soo Line

R.R. Co. v. City of St. Paul, 827 F. Supp. 2d 1017, 1019 (D. Minn. 2010) (condemnation claims

are expressly preempted by ICCTA). As a matter of law, Plaintiff “is impermissibly attempting

to subject to state law property that Congress specifically put out of reach.” Wisconsin Cent. Ltd.

v. City of Marshfield, 160 F. Supp. 2d 1009, 1013-14 (W.D. Wis. 2000).

       And as noted in CSXT’s Notice, it is well-settled that state law condemnation or adverse

possession claims fall within ICCTA’s broad preemptive scope. See Union Pac. R.R. v. Chicago

Transit Auth., 647 F.3d 675 (7th Cir. 2011); City of Lincoln – Petition for Declaratory Order,

STB Fin. Dkt. No. 34425, 2004 STB LEXIS 508 (Aug. 12, 2004), aff'd, City of Lincoln v. STB,

414 F.3d 858 (8th Cir. 2005); Harris Cnty. v. Union Pac. R.R. Co., 807 F. Supp. 2d at 632;

Buffalo S. R.R. Inc. v. Village of Croton-on-Hudson, 434 F. Supp. 2d 241 (S.D.N.Y. 2006);

Wisconsin Cent. Ltd. v. City of Marshfield, 160 F. Supp. 2d 1009, 1013-1014 (W.D. Wis. 2000);

see also Jie Ao and Xin Zhou – Pet. for Decl. Order, STB Fin. Docket No. FD 35539, 2012 STB

LEXIS 206 (June 4, 2012); Norfolk Southern Railway Co. – Pet. for Decl. Order, STB Fin. Dkt.



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No. 35196, 2010 STB LEXIS 635 (STB 2010).4 Plaintiff’s Motion does not acknowledge these

authorities, much less attempt to distinguish them.

        These decisions also make an important distinction. On one hand, ICCTA preempts

adverse possession claims because they take railroad property outright, thus preventing existing

rail use and future development. On the other hand, ICCTA does not necessarily preempt non-

exclusive rail crossing easement claims because those claims allow the railroad to retain and use

the property for railroad purposes. See Union Pac. R.R., 647 F.3d at 682, n. 9 (noting that “non-

exclusive easements across railroad property such as road crossings and utility easements” are

not typically preempted); Jie Ao, 2012 STB LEXIS 206, at * 17 (same). This distinction does not

help Plaintiff, however. Its adverse possession claim is anything but the kind of routine, non-

conflicting use that might avoid express preemption under ICCTA. Rather, by seeking to wholly

deprive CSXT of its ability to use the Parcel, Plaintiff’s adverse possession claim presents a

quintessential example of state law regulation preempted by ICCTA.

        Plaintiff’s Motion ignores all of this controlling authority. In fact, Plaintiff goes so far as

to suggest that ICCTA never preempts state law property claims. Motion at 7. In support,

Plaintiff takes a quote from Elam wholly out of context for the proposition that all claims arising

out of state property law necessarily only have an “incidental” effect on rail transportation. See

id. (“[L]ike state property laws . . . the effects of state negligence laws on rail operations are

merely incidental.”) (citing Elam, 635 F.3d at 813)). Plaintiff could not be more wrong. In fact,

Elam fully supports complete preemption here, as it expressly held that state law claims that

4
  As such, Plaintiff’s attempt to distinguish Elam as involving a state statute – rather than state common law – is
unavailing. See Motion at 8. ICCTA preempts state law “regulation” - it does not distinguish between statutory and
common law claims. 49 U.S.C. § 10501(b). Federal and state courts have consistently held that state common law
condemnation and adverse possession claims constitute the “regulation” of rail transportation which is expressly
preempted by ICCTA. See Union Pac. R.R., 647 F.3d at 679 (“Condemnation can be a form of regulation . . . .”);
see also e.g., Maynard v. CSX Transp., Inc., 360 F. Supp. 2d 836, 840 (E.D. Ky. 2004), aff’d, Case No. 04-5448 (6th
Cir. Feb. 7, 2005) (Federal courts “have consistently held that the ICCTA preempts state common law claims with
respect to railroad operations.”).


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“manage” or “govern” rail transportation are completely preempted. Elam, 635 F.3d at 807.

And, as the above authorities demonstrate, Plaintiff’s adverse possession claim constitutes

impermissible state law regulation “managing” or “governing” CSXT’s rail operations. See, e.g.,

Soo Line R.R., 827 F. Supp. 2d at 1022 (“[C]ondemnation is regulation.”) (citation omitted)

          Elam is entirely consistent with these authorities. The quote from Elam cites Franks Inv.

Co. v. Union Pac. R.R., 593 F.3d 404, 414 (5th Cir. 2010) – a routine crossing dispute case that

applied straightforward STB authority in concluding that crossing easements are not

categorically preempted by ICCTA. All of the cases holding that ICCTA preempts adverse

possession claims like Plaintiff’s also acknowledge that crossing easements are typically not

preempted. See, e.g., Union Pac. R.R., 647 F.3d at 682, n. 9; see also Jie Ao, 2012 STB LEXIS

206, at * 17. Indeed, Franks, Union Pacific, and Jie Ao all cite the same STB authority for this

point.5    But this lawsuit does not involve a routine grade crossing dispute.                   Rather, it is

undisputed that Plaintiff seeks to adversely possess part of CSXT’s Collinwood Rail Yard.6 As

such, Plaintiff’s reliance on the out of context quote from Elam is unavailing.

          D.     CSXT’s Ability To Use The Parcel For Its Future Rail Transportation Needs
                 Is Subject To ICCTA Preemption

          Plaintiff next weakly attempts to avoid ICCTA preemption by claiming that CSXT does

not currently use the Parcel for rail transportation purposes. Motion at 8. Without any support,

Plaintiff claims that CSXT’s future use of the CSXT Parcel does not justify ICCTA preemption.

See id. Again, Plaintiff is simply wrong as a matter of settled law.


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  Compare Franks, 593 F.3d at 407, 414 (citing New Orleans & Gulf Coast Ry. Co. v. Barrois, 533 F.3d 321, 333
(5th Cir. 2008), which in turn cites Maumee & W. R.R. Corp. and RMW Ventures, LLC-Petition for Declaratory
Order, STB Finance Docket No. 34354, 2004, STB LEXIS 140 (S.T.B. March 2, 2004)) with Jie Ao, 2012 STB
LEXIS 206, at * 14-15 (citing Maumee) and Union Pac., 647 F.3d at 680 (citing Mamuee).
6
  Similarly, in Adrian v. Blissfield, the Sixth Circuit applied the STB’s approach to ICCTA preemption in finding
that “routine crossing disputes” are not typically preempted by ICCTA. 550 F.3d at 539. Under that same
formulation, the STB has clearly stated that adverse possession claims virtually identical to Plaintiff’s are
preempted. Jie Ao, 2012 STB LEXIS 206, at * 14-15. As such, Adrian further supports preemption here.


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        It is undisputed that the Parcel is part of CSXT’s active and operating Collinwood Rail

Yard. Doc. 1-2 at 4, ¶ 5. Rail yards by statutory definition involve “rail transportation”

activities. See Norfolk S. Ry. Co. v. City of Alexandria, 608 F.3d 150, 159 (4th Cir. 2010); see

also Joint Pet. for Decl. Order – Boston & Maine Corp. & Town of Ayer, MA, Fin. Dkt. No.

33971, 2001 STB LEXIS 435, at * 17 (Apr. 30, 2001).7

        Potential future rail uses are also entirely relevant to the ICCTA preemption analysis.

See e.g., Jie Ao, 2012 STB LEXIS 206, at * 17 (The “fact that . . . there are currently no specific

plans to reactivate this property, does not mean that the property is not within the [STB’s]

jurisdiction”) (collecting cases); Norfolk Southern, 2010 STB LEXIS 635, at * 10-11 (“The fact

that NS is not now actively operating trains on the Property does not mean that the property is

not now, or may not later be, needed for railroad purposes.”); cf. City of Creede –Pet. for Dec.

Order, STB Fin. Dkt. No. 34376, 2005 STB LEXIS 486, at * 15 (May 3, 2005) (“[I]t cannot be

said that property at the edge of a railroad's [operations] is ‘not needed for railroad transportation'

just because tracks or facilities are not physically located there now.”).

        Simply put, ICCTA preempts adverse possession claims even when the property is not

currently used for rail purposes. Jie Ao, 2012 STB LEXIS 206, at * 17. All that is required is

that railroad reasonably believe the property to be necessary for its future rail transportation

needs. See id; see also, e.g., City of Lincoln 414 F.3d at 862 (in the context of considering

whether an eminent domain action is preempted under the ICCTA, it is permissible to consider

“a railway’s future plans as well as its current uses . . .”); Norfolk So., 2010 STB LEXIS 635, at *

11, n. 8 (“[T]he [STB’s] practice is to consider both current and future transportation plans in

determining whether a railroad has proposed a bona fide rail operation.”) (collecting cases). In

7
  Thus, Plaintiff’s claim that the property is not “related to the movement of passengers or property or both” is
simply wrong. Motion at 8. The Parcel property is part and parcel of CSXT’s Collinwood Rail Yard and thus is
“related to” the movement of freight even if every inch of the Parcel is not currently used for rail transportation.


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Union Pacific, for example, a claim to condemn property that a railroad was not using, and had

no immediate plans to use, was preempted simply because a taking would “prevent [the railroad]

from using it for railroad transportation in the future.” 647 F.3d at 681.

         These STB and court decisions recognize the common sense proposition that, although

difficult to predict with certainty, railroad facilities often require upgrades and expansions to

accommodate increased rail traffic. See City of Lincoln, 414 F.3d at 862 (“Condemnation is a

permanent action, and ‘it can never be stated with certainty at what time any particular part of a

right of way may become necessary for railroad uses.’”) (internal citation omitted); see also

Norfolk So., 2010 STB LEXIS 635, at * 11 (same) (citing City of Lincoln).

         As the uncontroverted evidence demonstrates, the Parcel is essential to CSXT’s ability to

use, expand, and/or reconfigure its Collinwood Rail Yard to meet anticipated future rail

demands. Doc. 1-3 at 5, ¶ 11. Whether CSXT uses the entire Parcel for rail transportation

purposes today is thus irrelevant to the ICCTA preemption analysis.8

         E.       The STB’s Recent Decision In Jie Ao Demonstrates That Plaintiff’s Adverse
                  Possession Claim Is Completely Preempted By ICCTA

         The STB’s recent decision in Jie Ao is instructive and persuasive. 2012 STB LEXIS 206.

In Jie Ao, the STB was faced with claims virtually identical to those asserted here. Specifically,

the Jie Ao plaintiff sought to adversely possess property adjacent to a railroad right of way that

had been donated to a local town for use as a recreational trail. Id. at * 2-7. According to the

plaintiff, ICCTA preemption did not apply because the property had “never been used for rail

operations.” See id. at 19, n. 8. The STB rejected this argument, holding that “state adverse


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  Similarly, Plaintiff’s unsupported claim that a portion of the Parcel to be taken property is “behind a fence” and has
not been used by CSXT employees “in decades” ignores CSXT’s current ownership and future railroad operations,
and thus fails. Motion at 8. The STB rejected a virtually identical argument in Jie Ao, concluding that although the
property housed petitioner’s retaining wall, garage, and drive way, and had “never been used for rail operations,”
those facts were irrelevant given the railroad’s future plans for growth. See id. at 19, n. 8.


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possession law would unreasonably interfere with potential future railroad operations,” including

the ability “to handle possible future traffic growth.” Id. at * 16 (emphasis added). Because the

plaintiff’s adverse possession claim fundamentally deprived the railroad’s ability to use its

property in the future, ICCTA preemption applied. See id. at * 14, n. 4 (“Adverse possession has

the same legal effect on the property as condemnation – elimination of the prior ownership

interest in the property.”).

         Importantly, the STB held that ICCTA preempted the adverse possession claim even

though there were “currently no specific plans” to use the property for rail uses:

         [A]ssuming arguendo, that Ao-Zhou is correct that the application of state adverse
         possession law here might have little actual, practical effect on current plans for
         active railroad operations, circumstances can change. Ao-Zhou's approach to
         preemption would permit landowners to carve off strips of railroad ROW all over
         the country for non-rail use, even though the [STB] has not authorized the ROW
         to be permanently removed from the nation's rail system under Title 49. That
         untenable result would undermine interstate commerce and the strong federal
         policy in favor of retaining rail property in the national rail network, where
         possible. See 49 U.S.C. §§ 10904, 10907 and 16 U.S.C. § 1247(d).

Id. at * 17. The same result is warranted here.

         The Collinwood Rail Yard is landlocked in a densely populated and urban area of

Cleveland, Ohio. Doc. 1-3 at 5, ¶ 11. Thus, there is no readily available property for future

railroad expansion and CSXT needs to retain the ownership and control of the Parcel for future

railroad operations. Id.9 In fact, it is undisputed that CSXT refused to sell the Parcel to Plaintiff

because CSXT needed the Parcel for the “current and anticipated future uses of the Collinwood

Rail Yard.” Doc. 1-2 at 3, ¶ 7. As in Jie Ao, the permanent taking of the CSXT Parcel would

directly limit or reduce CSXT’s future railroad operations at Collinwood Rail Yard, including

but not limited to, by restricting CSXT’s ability to add or reconfigure tracks on or in the vicinity

9
 Plaintiff’s conclusory affidavit does not change that result, as Plaintiff cannot possibly have personal knowledge of
CSXT’s future rail needs. See Doc. 5 at 12 (claiming without support that the lawsuit will not “affect the operations
of CSX Transportation currently or in the future.”).


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of the Parcel and/or to use the CSXT Parcel for offloading and storage of products shipped by

rail. D.E. 1-3, at 5, ¶ 10.

        Indeed, this case presents even stronger ICCTA preemption grounds than those in Jie Ao.

There, the entire property at issue had been donated for use as a trail – with no current rail

purpose or activity. In stark contrast, the Parcel is part of the active and operating Collinwood

Rail Yard, and it is well-settled that rail yards constitute “transportation” subject to ICCTA

preemption. Doc. 1-2 at 3, ¶ 5; see also cases cited supra. Simply put, Plaintiff cannot avoid

ICCTA preemption and so its Motion should be denied.10

        F.       This Court Also Has Diversity Jurisdiction

        Alternatively, even if ICCTA did not completely preempt Plaintiff’s claims, this Court

also has diversity jurisdiction under 28 U.S.C. § 1332. Plaintiff does not dispute that the parties

are completely diverse.11 Rather, Plaintiff only asserts that the amount in controversy is less than

$75,000. Motion at 9. In support, Plaintiff points to and attaches an e-mail in which a CSX Real

Property sales employee simply states that the “market value” of the Parcel is approximately

$20,000-$28,000.00. See Motion at 9, 15. Per CSXT’s customary procedure, however, CSX

Real Property sales employees only field the inquiries to purchase CSXT property. Doc. 1-2 at

3, ¶ 7. All such requests to purchase CSXT property must then be reviewed and approved by

CSXT’s rail transportation and operations personnel. Id. In this case, those personnel rejected

Plaintiff’s offer to purchase the Parcel after concluding the Parcel is necessary for the “current



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   If this Court declines to apply ICCTA preemption, then at a minimum, it should refer Plaintiff’s suit to the STB
rather than to state court. See Wilson v. Ill. Cent. R.R., 2009 U.S. Dist. LEXIS 69266, at *8-9 (S.D. Miss. Aug. 7,
2009) (noting that courts can deny motions to remand and instead refer to STB, which has concurrent jurisdiction);
see also Norfolk Southern Railway Co., STB Fin. Dkt. No. 35196, 2010 STB LEXIS 635, at * 7 (STB 2010) (noting
that Alabama federal district court referred suit to STB rather than decide motion to remand to state court).
11
   As CSXT demonstrated in its Notice (Doc. 1, at 9, ¶ 21, 22), CSXT is a citizen of both Virginia and Florida, and
Plaintiff (upon information and belief) is a citizen of Ohio. These allegations are sufficient to establish complete
diversity. See Norton v. Kent, 2009 U.S. Dist. LEXIS 90119, at * 4 (N.D. Ohio Sept. 17, 2009).


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and anticipated future uses of the Collinwood Rail Yard.” Id. Accordingly, the Parcel’s value as

part of the Collinwood Rail Yard is far greater than its “market value.” Doc. 1-3 at 5, ¶ 11.

         Regardless, Plaintiff misses the mark because the amount in controversy in quiet title

actions is not limited to the fair market value of the property. David A. Waldron & Assocs. v.

Loon, LLC, 2012 U.S. Dist. LEXIS 63669, at *10-11 (N.D. Ohio Apr. 17, 2012) (in a quiet title

suit, courts “do not look merely at the damages or relief to be awarded; they also consider the

practical, economic effects of the outcome of the case.”); see also Conley v. Whirlpool Corp.,

2011 U.S. Dist. LEXIS 20629, at *9-10 (E.D. Tenn. Mar. 1, 2011). To the contrary, CSXT need

only show it more likely than not that its future “anticipated loss” from the taking will exceed

$75,000. Northup Props., v. Chesapeake Appalachia, L.L.C., 567 F.3d 767, 770 (6th Cir. 2009).

         In making this determination, courts may consider the amount in controversy from either

the plaintiff’s or the defendant’s viewpoint. See, e.g., Conley, 2011 U.S. Dist. LEXIS 20629, at

*9-10 (choosing to “assess Plaintiffs' instant Motion to Remand from Defendant's viewpoint” for

amount in controversy purposes) (citing Northrup); see also Columbia Gas Transmission Corp.

v. Meadow Preserve York, LLC, 2006 U.S. Dist. LEXIS 30645, at * 6 (N.D. Ohio May 17,

2006); Crosby v. America Online, Inc., 967 F. Supp. 257, 264 (N.D. Ohio 1997).12 In other

words, for amount in controversy purposes, this Court can consider the potential loss of the

property and negative impact on CSXT’s future railroad operations if Plaintiff prevails in this

suit. See Vulcan Lands, Inc. v. Chi. Title & Trust Co., 2008 U.S. Dist. LEXIS 39107 (N.D. Ill.

May 13, 2008) (because evidence demonstrated that easement would decrease value of land by

over $5,000,000, amount in controversy was met, despite fact that market value of land to be



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  Although the Sixth Circuit has not expressly adopted the “either viewpoint” test, it routinely evaluates the amount
in controversy from the defendant’s viewpoint. See, e.g., Northup Properties, Inc. v. Chesapeake Appalachia,
L.L.C., 567 F.3d 767, 770, n. 1 (6th Cir. 2009); Everett v. Verizon Wireless, Inc., 460 F.3d 818, 829 (6th Cir. 2006).


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condemned was less than $75,000.); see also Conley, 2011 U.S. Dist. LEXIS 20629, at *9-10;

Bergstrom v. Burlington N. R.R., 895 F. Supp. 257 (D.N.D. 1995).

       The recent district court decision in Conley v. Whirlpool is directly analogous. 2011 U.S.

Dist. LEXIS 20629. There, the plaintiff sought to quiet title on a disputed strip of land located

between the parties’ respective properties. Id. at * 2. After the defendant removed the case, the

plaintiff moved to remand, arguing that the fair market value of the small strip of land was well

below $75,000. Id. at * 3. The defendant submitted affidavits stating that the value of its

property would diminish by $100,000 without the strip of land, as the strip was used for

accessing the defendant’s property. Id. at *3-4. Alternatively, the defendant would be forced to

spend over $75,000 constructing alternative access routes. Id. Applying the Sixth Circuit’s

decision in Northrup, the Court found that this evidence was sufficient and thus denied plaintiff’s

motion to remand. Id. at * 12-15. The same result is mandated here.

       Based on his more than 30 years of experience in the railroad industry, CSXT’s Director

of Network Planning Larry Ratcliffe has determined that if Plaintiff is permitted to “carve off”

part of the Collinwood Rail Yard, the potential loss and impact on CSXT’s future railroad

operations would “far exceed $75,000.” Doc. 1-3 at 5, ¶ 11. As Mr. Ratcliffe explains, losing

the CSXT Parcel would directly limit or reduce CSXT’s future ability and operational flexibility

to efficiently conduct railroad operations at Collinwood Rail Yard. Id. at ¶ 10. Such negative

impacts would include precluding CSXT’s ability to add or expand tracks, to construct additional

rail support facilities, and to offload or store products shipped by rail. Id. Because Collinwood

Rail Yard is a key component of CXST’s Rail Corridor, these restrictions on CSXT’s use of the

Yard would restrict CSXT’s ability to provide efficient rail service throughout its rail network.




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See id. at 4, ¶ 9. In addition, CSXT would be forced to incur substantial capital investment to

explore alternative locations (to the extent such locations exist and are suitable). Id. at 5, ¶ 11.

       CSXT’s uncontroverted evidence is sufficient to satisfy the amount in controversy

requirement. Accordingly, Plaintiff’s Motion should be denied.

V.     CONCLUSION

       For the foregoing reasons and authorities and those set forth in its Notice of Removal

(Doc. 1), Defendant CSX Transportation, Inc. respectfully requests that Plaintiff’s Motion to

Remand (Doc. 5) be denied in its entirety.

       Respectfully submitted this 13th day of August, 2012.


                                               JONES DAY


                                               By:     s/Robert E. Haffke
                                                       Jeffery D. Ubersax
                                                       Ohio Bar No. 0039474
                                                       Robert E. Haffke
                                                       Ohio Bar No. 0082451
                                                       901 Lakeside Avenue
                                                       Cleveland, Ohio 44114
                                                       (216) 586-7112
                                                       (216) 579-0212 (fax)

                                                       Of Counsel:
                                                       McGUIREWOODS LLP
                                                       R. Eric Bilik
                                                       Emily Y. Rottmann
                                                       50 N. Laura Street, Suite 3300
                                                       Jacksonville, Florida 32202
                                                       (904) 798-3200
                                                       (904) 798-3207 (fax)

                                                       Attorneys for Defendant CSX
                                                       Transportation, Inc.




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                           LOCAL RULE 7.1 CERTIFICATION

       Pursuant to Rule 7.1(f) of the Local Civil Rules for the Northern District of Ohio, the

undersigned hereby certifies that upon review of the docket, this case has not been assigned to

any track. The undersigned further certifies that this Response in Opposition to Plaintiff's

Motion for Remand and Memorandum in Support adheres to the page limitations set forth in

Rule 7.1(f).


                                                   /s/ Robert E. Haffke
                                                   Robert E. Haffke
                                                   One of the Attorneys for Defendant
                                                   CSX Transportation, Inc.



                               CERTIFICATE OF SERVICE

        I hereby certify that on August 13, 2012, I electronically filed the foregoing with the
Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing to
the following:

                                    David J. Horvath, Esq.
                           7100 E. Pleasant Valley Road, Suite 110
                                 Independence, Ohio 44131
                                       (216) 986-0860
                                   djhorvath@hotmail.com


                                                   /s/ Robert E. Haffke
                                                   Robert E. Haffke
                                                   One of the Attorneys for Defendant
                                                   CSX Transportation, Inc.




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